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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF GEORGIA
                            ATHENS DIVISION

                           Case No.: 3:21-cv-00001-CDL

DONNA STALEY,

     Plaintiff,

v.

BCA FINANCIAL SERVICES, INC.,

  Defendant.
___________________________________/

             JOINT STIPULATION FOR DISMISSAL WITH PREJUDICE

        COMES NOW, Plaintiff, Donna Staley, and Defendant, BCA Financial

Services, Inc. (collectively the “Parties”), pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii),

by and through their undersigned counsel, and would represent to the Court that this

action has been resolved and would request entry of an Order dismissing this matter

with Prejudice, each party to bear their own costs and attorneys’ fees.

        Dated this 25th day of February 2021.

 /s/ Scott M. Stevens________                 /s/ Ernest H. Kohlmyer, III
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                                             Attorneys for Defendant




                         CERTIFICATE OF SERVICE


       I HEREBY CERTIFY that a copy of the foregoing has been electronically

filed on February 25, 2021, via the Clerk of Court’s CM/ECF system. I further

certify that the foregoing has been sent via electronic transmission to the following:

Scott M. Stevens, Esquire at sstevens@howecollections.com (Attorneys for

Plaintiff).

                                              /s/ Ernest H. Kohlmyer, III
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